    18-12056-shl     Doc 8-1     Filed 07/09/18 Entered 07/09/18 15:54:51            Attorney
                                     Declaration Pg 1 of 3


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270 Madison Avenue, Suite 1400
New York, New York 10016-0601
(212) 684-7800
                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF NEW YORK
                                                     )
In re:                                               )
                                                     )
 NUTMEG MUSIC, INCORPORATED, d/b/a
                               )                     )
 NUTMEG CREATIVE d/b/a         )                     )
 NUTMEG AUDIO POST d/b/a       )                     )
 NUTMEG POST d/b/a                                   )      Case No. 18-12056 (SHL)
 NUTMEG RECORDING,             )                     )
                                                     )
                                Debtor.      )       )
                              DECLARATION OF ATTORNEY

         RICHARD E. WELTMAN, an attorney duly admitted to practice in the State of New

York and before this court, of full age, declares the following to be true, pursuant to 28 U.S.C. §

1746:

         1.    I am an attorney and counselor-at-law duly admitted to practice in the State of

New York and also in the United States District Court for the Southern District of New York.

         2.    Declarant is a member of the law firm of Weltman & Moskowitz, LLP (“W&M”

or “Law Firm”), which maintains its principal office for the practice of law at 270 Madison

Avenue, Suite 1400, New York, New York 10016-0603.

         3.    Neither myself nor Law Firm have any connection with Nutmeg Music,

Incorporated d/b/a Nutmeg Creative (“Debtor”), the above-named Debtor, its creditors, nor any

other party in interest herein, nor their respective attorneys, except that W&M will represent

Debtor and debtor-in-possession in this proceeding. To the best of my knowledge, W&M is a
   18-12056-shl      Doc 8-1     Filed 07/09/18 Entered 07/09/18 15:54:51           Attorney
                                     Declaration Pg 2 of 3


“disinterested person,” as such term is defined in section 101(14) of the Bankruptcy Code, as

modified by section 1107(b) of the Bankruptcy Code.

       4.      In view of the foregoing, W&M submits it represents no interest adverse to the

above-named Debtor, as debtor-in-possession, or its estate in the matters upon which Law Firm

is to be engaged.

       5.      W&M intends to apply to the Court for allowances of compensation and

reimbursement of out-of-pocket expenses incurred on or after the Petition Date in connection

with this Chapter 11 case, subject to Court approval and in accordance with the applicable

provisions of the Bankruptcy Code, Bankruptcy Rules, Local Rules, guidelines established by

the U.S. Trustee, and further orders of this Court.

       6.      Law Firm’s professional legal services rendered and to be rendered in this case, in

accordance with a separate engagement letter executed by Debtor on March 26, 2018, are

charged at the rate of $625 per hour for partners, and $525 to $395 per hour for associates and

counsel. It is the customary practice of the firm to charge $180 per hour for legal assistants and

paralegals. These rates are the current rates charged by W&M and are subject to change on or

after January 1, 2019 to reflect economic and other conditions.

       7.      W&M will maintain detailed records of actual and necessary costs and expenses

incurred in connection with the legal services described above. Debtor understands that Law

Firm is customarily reimbursed for all expenses incurred in connection with representation of a

client in a given matter, including but not limited to, photocopying services, printing, delivery

charges, filing fees, postage and electronic research.

       8.      Notice of this Application has been provided to (i) the Office of the United States

Trustee for the Southern District of New York; (ii) Citibank, N.A., Debtor’s secured lender; (iii)




                                                 2
   18-12056-shl      Doc 8-1     Filed 07/09/18 Entered 07/09/18 15:54:51             Attorney
                                     Declaration Pg 3 of 3


the creditors holding the largest twenty (20) unsecured claims against the Debtor’s estate, as

identified in the Debtor’s chapter 11 petition; (iv) Debtor’s secured creditors; and (v) the parties

having filed a Notice of Appearance. In light of the nature of the relief requested herein and the

potential harm to the Debtor’s estate if the relief requested herein is not granted, Debtor

respectfully submits that no other or further notice need be provided.

       I declare, under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on July 9, 2018

                                                             /s/ Richard E. Weltman
                                                             RICHARD E. WELTMAN




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